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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                           Chapter 11

    BOY SCOUTS OF AMERICA AND                        Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                     (Jointly Administered)
                          Debtors.
                                                     Re: Docket No. ____



             ORDER GRANTING MOTION TO CHANGE ELECTION TO OPT INTO
                     EXPEDITED PAYMENT/CONVENIENCE CLASS


         Upon the motion (the “Motion”)2 of AVA for entry of an order allowing the Claimants to

opt out of the expedited distribution election in their respective ballots, (a) it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) this matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2); and (c) notice of the Motion was due and proper under the

circumstances; and it appearing that the relief requested in the Motion is fair, reasonable and

appropriate; and after due deliberation, and good and sufficient cause appearing therefore;

             IT IS HEREBY ORDERED that:

         1.       The Motion is GRANTED as follows;

         2.       The Claimants’ ballots shall be treated as timely cast without the expedited

distribution option exercised;




1
  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal
tax identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC
(4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them
in the Motion.
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         3.     The Debtors, the Trust and all other relevant parties shall treat each of the Claimants

as if they did not opt in to the expedited distribution election;

         4.     The Claimants claims shall proceed through the claims reconciliation process as

outlined in the Plan; and

         5.     This Court shall retain jurisdiction over the Motion and the relief granted by this

Order.
